                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )
             v.                                 )     Criminal Action No.
                                                )     11-00302-03-CR-W-DW
LORRIE DOLAN,                                   )
                                                )
                      Defendant.                )

                             REPORT AND RECOMMENDATION

       On June 26, 2012, defendant entered a guilty plea. On September 4, 2012,

defendant moved for judicial determination of mental competency. Defendant was

found not competent on January 16, 2013, and was committed for treatment. On

August 8, 2013, a psychiatric report was filed an a competency hearing was held on

August 15, 3013. Defendant was present, represented by Kenton Hall. The

government was represented by Assistant United States Attorney Leena Ramana. The

parties stipulated to the contents and findings of the report of Christine Anthony, Ph.D.,

Forensic Psychologist, dated July 5, 2013, as the only evidence of whether the

defendant is competent to proceed to sentencing (Tr. at 2-3).1

       Based upon the uncontroverted evidence stipulated to by the parties in this case,

I find that the defendant is competent to proceed to sentencing. Therefore, it is

       RECOMMENDED that the court, after making an independent review of the

record and applicable law, enter an order finding defendant competent to proceed to

sentencing.



       1
           “Tr”. refers to the transcript of the competency hearing.


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      The parties waived the 14-day objection period (Tr. at 3); therefore, it is

      ORDERED that any objections to the Report and Recommendation shall be filed

by August 21, 2013.




                                                ROBERT E. LARSEN
                                                United States Magistrate Judge

Kansas City, Missouri
August 19, 2013




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